        Case 8:25-cv-00951-PX               Document 175            Filed 06/02/25         Page 1 of 16



                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

KILMAR ARMANDO ABREGO                                 *
GARCIA, et al.,                                       *
                                                      *
         Plaintiffs,                                  *
                                                      *
         v.                                           *        Civil Action No. 8:25-cv-00951 (PX)
                                                      *
KRISTI NOEM, et al.,                                  *
                                                      *
         Defendants.                                  *
                                                      *
*        *        *        *        *        *        *        *        *        *        *        *        *

                 AMICI CURIAE BRIEF IN OPPOSITION TO DEFENDANTS’
                   INVOCATION OF THE STATE SECRETS PRIVILEGE

         Heidi Kitrosser, Mark J. Rozell, and Mitchel A. Sollenberger (collectively “Amici”)

respectfully submit this Amici Curiae Brief in Opposition to Defendants’ invocation of the state

secrets privilege to avoid providing information in response to the Court’s orders and Plaintiffs’

discovery requests.

                                    INTERESTS OF AMICI CURIAE 1

         Amici are law professors and/or scholars who teach, research, and/or write about topics

related to governmental privileges. They submit this Brief in support of Plaintiffs to explain why

there is no legitimate basis for an invocation of the state secrets privilege in this case and, even if

one were theoretically to exist, that the Government has not met its burden for its extraordinary

claims. Their interest in this case is ensuring that this powerful governmental privilege cannot be




1
  Pursuant to Federal Rule of Appellate Procedure 29(a)(4), as largely incorporated by this Court’s Local Civil Rule
105(12)(b), undersigned counsel states that no party’s counsel authored this Brief in whole or in part. Nor did any
party or party’s counsel, or any other person other than amici curiae or their counsel, contribute money that was
intended to fund preparing or submitting this Brief.
        Case 8:25-cv-00951-PX              Document 175            Filed 06/02/25        Page 2 of 16



abused to suit the whims of Executive Branch officials purely seeking to avoid accountability for

their actions.

                                                ARGUMENT

        There are numerous issues with the Government’s attempt to invoke the state secrets

privilege, even based solely on the information currently in the public record. 2 Amici agree with

and endorse Plaintiffs’ prior arguments regarding the lack of merit to the Government’s

contentions and present their own supplemental analysis for the Court’s consideration.

I.      THERE ARE NO SEPARATION OF POWERS CONCERNS

        Perhaps the most egregious example of overreach in the Government’s argument in

J.G.G.—and presumably in this case—is the naked claim that the question before the Court has

anything to do with separation of powers. See, e.g., Not. Invoking State Secrets Privilege, ECF

No. 56, at 1 (filed Mar. 24, 2025), J.G.G. v. Trump, No. 25-766 (D.D.C.) (“Further intrusions on

the Executive Branch would present dangerous and wholly unwarranted separation-of-powers

harms with respect to diplomatic and national security concerns that the Court lacks competence

to address.”). By making this claim, the Government attempts to conflate two very different

privileges while only claiming one: the one that does not involve separation of powers.

        As the Government recognized in J.G.G.—apparently without recognizing the

significance—“[t]he state secrets privilege is a common law evidentiary rule that protects

information from discovery when disclosure would be inimical to the national security.” Id. at 2-

3 (emphasis added) (quoting In re United States, 872 F.2d 472, 472 (D.C. Cir. 1989)). See also



2
  Because the Government filed its supplemental evidence under seal, Amici have not been given the chance to
review the Supplemental Declaration of Secretary of State Marco Rubio or its accompanying papers, and so they are
forced to rely on the previous Rubio Declaration, arguments made in other filings, and the arguments made in J.G.G.
v. Trump (“J.G.G.”), in which the Government also asserted the state secrets privilege over similar information.
(See, e.g., 1st Rubio Decl., ECF No. 112-5, ¶¶ 8-11 (filed May 7, 2025) (quoting Rubio Declaration filed in J.G.G.
                                                        2
        Case 8:25-cv-00951-PX               Document 175            Filed 06/02/25         Page 3 of 16



Wikimedia Found. v. NSA/Central Sec. Serv., 14 F.4th 276, 294 (4th Cir. 2021) (“We have

indeed observed that the state secrets privilege is an evidentiary rule based in the common law of

evidence.”) (cleaned up). This distinction is fatal to the Government’s talismanic invocation of

the separation of powers, as summarized by Graham and Murphy, inter alia:

         Some writers have argued that the state secrets privilege is constitutionally
         required. They rely upon the Supreme Court’s apparent conflation of the state
         secrets and executive privileges in the Watergate Tapes Case. The argument
         seems to be based on the doctrine of separation of powers. It apparently assumes
         that the Constitution gives the executive branch the exclusive power to determine
         what national security requires by way of secrecy; hence, any attempt by
         Congress or the courts to limit such secrecy by refusing the recognize or limiting
         governmental secrecy is an invasion of the Presidential prerogative and hence
         unconstitutional. However, the Supreme Court does not seem to think that it was
         acting unconstitutionally when it promulgated Rejected Rule 509 over the
         objections of the executive branch that it provided insufficient protection for state
         secrets. Nor did anyone argue that Congress acted in violation of the Constitution
         when it declined to adopt the Rejected Rule and left the question of whether or
         not to recognize a privilege for state secrets and the scope of that privilege to the
         courts. The better view would seem to be that the state secrets privilege is not a
         constitutional privilege, but may be altered by legislation or judicial decision.

26 Kenneth W. Graham, Jr. & Ann Murphy, Fed. Prac. & Proc. Evid. § 5663 (1st ed.) (footnotes

omitted) (citing multiple sources).

         The privilege that the Government is trying to invoke by implication—but cannot in

reality invoke—is a narrow subcategory of executive privilege that pertains to “military or

diplomatic secrets” that is constitutional in nature, although most court opinions, briefs, and

articles only cite dicta from United States v. Nixon in support of its existence. That case, in

which the President attempted to invoke a blanket executive privilege over all Presidential

communications and was denied by a unanimous Court, contained the dicta:

         Absent a claim of need to protect military, diplomatic, or sensitive national
         security secrets, we find it difficult to accept the argument that even the very

at length and explicitly reasserting claims).) If the Court denies the Government’s motion to seal (ECF No. 156),
Amici respectfully request leave to supplement this Brief in light of the new information.
                                                         3
       Case 8:25-cv-00951-PX          Document 175         Filed 06/02/25      Page 4 of 16



       important interest in confidentiality of Presidential communications is
       significantly diminished by production of such material for in camera inspection
       with all the protection that a district court will be obliged to provide.

       *       *       *

       [The President] does not place his claim of privilege on the ground they are
       military or diplomatic secrets. As to these areas of Art. II duties the courts have
       traditionally shown the utmost deference to Presidential responsibilities.

       *       *       *

       Nowhere in the Constitution, as we have noted earlier, is there any explicit
       reference to a privilege of confidentiality, yet to the extent this interest relates to
       the effective discharge of a President’s powers, it is constitutionally based.

418 U.S. 683, 711 (1974).

       Over the years this language has been twisted and tangled into the following virtually

unrecognizable staple of Government pleadings:

       Any doubt that the privilege is rooted in the Constitution was dispelled in United
       States v. Nixon, in which the Supreme Court explained that, to the extent a claim
       of privilege “relates to the effective discharge of the President’s powers, it is
       constitutionally based.” The Court went on to recognize expressly that a “claim of
       privilege on the ground that [information constitutes] military or diplomatic
       secrets”—that is, the state secrets privilege—necessarily involves “areas of Art. II
       duties” assigned to the President.

       *       *       *

       It is well settled . . . that the courts should [determine if the privilege has been
       invoked properly] by according the “utmost deference” to the expertise and
       judgment of national-security officials.

Letter from U.S. Att’y Gen. Michael Mukasey to Sen. Patrick Leahy (Mar. 31, 2008), available

at http://www.fas.org/sgp/jud/statesec/ag033108.pdf (last accessed May 30, 2025). More

alarmingly, some courts have on occasion cited twisted versions of this dicta falsely equating the

state secrets privilege (which was not at issue in Nixon) with executive privilege. For instance,

the Fourth Circuit once characterized Nixon as “observing that the state secrets privilege

                                                 4
       Case 8:25-cv-00951-PX           Document 175         Filed 06/02/25      Page 5 of 16



provides exceptionally strong protection because it concerns ‘areas of Art. II duties [in which]

the courts have traditionally shown the utmost deference to Presidential responsibilities.’” El-

Masri v. United States, 479 F.3d 296, 303 (4th Cir. 2007) (emphasis added). In contrast, the most

cited case for the standard of “utmost deference” to the Executive Branch in national security

matters, Halkin v. Helms (a later iteration of which the Government cites no less than four times

in J.G.G.), itself clarified that “the Court in United States v. Nixon strongly indicates that state

secrets are not analogous to the Presidential communications at issue there.” 598 F.2d 1, 7 (D.C.

Cir. 1978).

       Lastly, insofar as the Government is arguing that the state secrets privilege itself presents

separation of powers concerns, the claim that the Executive Branch has plenary control over all

classified information issues has been comprehensibly refuted for decades through the simple act

of legislation. Without going into a complete discussion of the various ways in which the statutes

confer authority on courts to make determinations regarding classified information, it will suffice

for the purposes of this Brief to point out that Congress has on numerous occasions explicitly

conferred such authority—often over the objections of the Executive Branch—with such

examples as the Classified Information Procedures Act, 18 U.S.C. app. 3 §§ 1-16; the Foreign

Intelligence Surveillance Act, Pub. L. No. 95-511 (codified as amended at 50 U.S.C. §§ 1801-

1885 and in scattered sections of 18 U.S.C.); and the Freedom of Information Act, 5 U.S.C. §

552 (most notably § 552(a)(4)(8), which expressly requires judges to review agency invocations

of Exemption (b)(1), dealing with classified materials, de novo).

       In short, Judge Sullivan could have been describing the Government’s position in this

case when he wrote over two decades ago:

       If this were the law, the Pentagon Papers case, New York Times Co. v. United
       States, which allowed the publication of classified material, was wrongly decided.
                                                   5
       Case 8:25-cv-00951-PX           Document 175          Filed 06/02/25      Page 6 of 16



        If this were the law, Snepp [v. United States] and McGehee [v. CIA], which
        require judicial review of pre-publication classification decisions, were wrongly
        decided. If this were the law, the provision of the Freedom of Information Act that
        allows judicial review of documents withheld for national security purposes
        would be unconstitutional. If this were the law, the provisions of the Classified
        Information [Procedures] Act that require disclosure of classified information to
        criminal defense counsel, would be unconstitutional. Finally, if the government’s
        theory of separation of powers carried the day, Youngstown Sheet & Tube Co. v.
        Sawyer in [which] the Supreme Court held that the President unconstitutionally
        assumed the legislative power in the name of national security, was wrongly
        decided.

Stillman v. DOD, 209 F. Supp. 2d 185, 212-13 (D.D.C. 2002) (citations omitted), rev’d on other

grounds sub nom. Stillman v. CIA, 319 F.3d 546 (D.C. Cir. 2003).

II.     REGARDLESS OF CLASSIFICATION, THE GOVERNMENT FAILS

        From the information available on the public record, the Government has never actually

claimed that the allegedly privileged information is classified. (See, e.g., Pls.’ Opp’n Defs.’

Interim Mot. Seal Defs.’ Ex Parte Not., ECF No. 166, at 5 (filed May 28, 2025) (“To date, the

Government has indicated that there are no classified materials to be reviewed by cleared

counsel.”) [hereinafter Pls.’ Opp’n to Sealing]; Pls.’ Mem. Law Re: Privilege Assertions, ECF

No. 128, at 14 (“Here, Secretary Rubio does not claim that answering Plaintiffs’ questions about

Abrego Garcia would endanger classified weapons systems or other military secrets.”)

[hereinafter Pls.’ SSP Opp’n].) The 1st Rubio Declaration—and in fact the Government’s

argument in the 16 May 2025 hearing—only refers to “sensitive information” (1st Rubio Decl.

¶¶ 8, 12; Tr. of 5/16/25 Mot. Hrg., ECF No. 147, at 42:10-43:4 (filed May 19, 2025) [hereinafter

5/16/25 Tr.]), but “sensitive” is not a classification level; the only classification levels are

Confidential, Secret, and Top Secret. Exec. Order 13526 § 1.2. The 1st Rubio Declaration

likewise asserts numerous times that disclosure of the information in question “reasonably could

be expected to cause significant harm to the foreign relation [sic] and national security interests

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        Case 8:25-cv-00951-PX                Document 175           Filed 06/02/25          Page 7 of 16



of the United States.” (1st Rubio Decl. ¶¶ 3, 6, 7, 8, 11 (emphasis added)), but, like “sensitive,”

“significant” is not a recognized level of harm for classification purposes. See Exec. Order 13526

§ 1.2 (stating that “Confidential” means that disclosure could cause damage, “Secret” means that

disclosure could cause serious damage, and “Top Secret” means that disclosure could cause

exceptionally grave damage). 3

         In contrast, “sensitive” does apply to a type of unclassified information recognized at the

State Department, known as “Sensitive but Unclassified information.” “Sensitive but

Unclassified (SBU) information is information that is not classified for national security reasons,

but that warrants/requires administrative control and protection from public or other

unauthorized disclosure for other reasons.” 12 FAM 541(a), available at

https://fam.state.gov/fam/12fam/12fam0540.html (last accessed May 30, 2025). It is therefore

safe to assume that the information for which the Government is asserting the state secrets

privilege in this case is SBU information (see, e.g., Defs.’ Resp. Pls.’ Mot. Add’l Relief, ECF

No. 65, at 5-6 (filed Apr. 13, 2025) (“Plaintiffs’ request . . . calls for the immediate production of

classified documents, as well as documents that Defendants may elect to assert are subject to the

protections of . . . the State Secrets privilege.”) (emphasis added)), although the court will be

easily able to ascertain the classification level—or not—from reviewing the information itself,

since classified information and SBU must be clearly marked. See 5 FAM 482.10-482.11,

available at https://fam.state.gov/FAM/05FAM/05FAM0480.html (last accessed May 30, 2025).


3
  While the Government’s motion to seal the Supplemental Rubio Declaration does admittedly refer to
“Confidential” information, it uses that term as it is defined in the Court’s Stipulated Confidentiality Order, not
Executive Order 13526. (Compare Defs.’ Interim Mot. Seal Defs.’ Ex Parte Not., ECF No. 156, at 2 (filed May 23,
2025) (“Defendants have designated the Notice of Ex Parte Communication and Secretary Rubio’s Supplemental
Declaration with Ex Parte Addendum as ‘Confidential’ and ‘Attorney’s Eyes Only’ under the Stipulated
Confidentiality Order because they contain ‘sensitive government information.’”), with Pls.’ Opp’n to Sealing at 5
(“To date, the Government has indicated that there are no classified materials to be reviewed by cleared counsel.”).)

                                                          7
        Case 8:25-cv-00951-PX                 Document 175            Filed 06/02/25          Page 8 of 16



This is a critical distinction separating the Government’s claim in this case from all other state

secrets privilege cases: neither Amici nor their undersigned counsel have found a single case

prior to J.G.G. where the Government attempted to invoke the state secrets privilege to withhold

wholly unclassified information. 4

         As a brief aside, the State Department routinely cites Executive Order 13526 with respect

to SBU information, despite the fact that the Executive Order has no applicability to SBU

information. For instance, on 30 May 2025 the State Department sent a cable to all diplomatic

and consular posts, the beginning of which reads as follows:




4
  To be clear, this is not to say that unclassified information is never the subject of a state secrets privilege
invocation. However, when it is, it is always intertwined with classified information. When the Government argues
that Plaintiffs are wrong to say the privilege only applies to classified documents, this is the context to which it is
speaking, not wholly unclassified information. The special case of invocations made prior to November 1953 is
addressed below.
                                                           8
        Case 8:25-cv-00951-PX               Document 175            Filed 06/02/25         Page 9 of 16



Despite the fact that this cable is clearly marked as UNCLASSIFIED and SBU, with “Captions:

SENSITIVE” to further indicate as much, it still cites Executive Order 13526 as the controlling

authority for such markings. In Amici’s experience, this kind of line blurring is common at the

State Department, and it can be seen in its litigation conduct in this case as well. For instance, the

Government admitted that information it originally claimed to be classified was not, while still

maintaining that it “remains sensitive and protected.” (Defs.’ Resp. Opp’n Press Movants’ Mot.

Intervene & Unseal Court Records, ECF No. 151, at 5 n.1 (filed May 20, 2025) (emphasis

added); see also 5/16/25 Tr. at 44:23-45:1 (“So previously, Your Honor, that arrangement was

reflected in classified diplomatic notes . . . which are no longer classified.”).) The Court should

be skeptical of this strategic ambiguity, especially where the evidence strongly indicates that the

Government is merely seeking to obtain a litigation advantage by employing it. 5

         However, while it appears clear that the information in question is unclassified, the Court

should not be concerned by any perceived uncertainty on that point, because as a matter of law

much of the information cannot be classified. Executive Order 13526 established the currently

controlling rules for the current classification system, and that Order is explicit:

         In no case shall information be classified, continue to be maintained as classified,
         or fail to be declassified in order to:

         (1) conceal violations of law, inefficiency, or administrative error;
         (2) prevent embarrassment to a person, organization, or agency; . . . or
         (4) prevent or delay the release of information that does not require protection in
         the interest of the national security.

Exec. Order 13526 § 1.7(a).




5
  The Court should be similarly concerned that even though it explicitly invited the Government numerous times in
the 16 May Hearing to file a declaration from the Secretary of Homeland Security and to file a classified declaration
(e.g., id. at 28:15-31:12, 48:4-6), it instead chose to do neither. The Government continues to refuse to do the bare
minimum required by the law in its dogged pursuit of a litigation advantage.
                                                          9
      Case 8:25-cv-00951-PX            Document 175         Filed 06/02/25       Page 10 of 16



        This provision is often misunderstood to mean that information may not be classified for

any of these reasons, but it is in fact significantly more strict in that respect. What this means in

practice is that information may not be classified solely for any of these reasons. For instance, if

detainee records demonstrated the Government’s use of illegal interrogation methods, those

records could still be properly classified, not because they concealed violations of law, but

because they would reveal intelligence sources and methods as well as conceal violations of law.

See ACLU v. DOD, 584 F. Supp. 2d 19, 24 (D.D.C. 2008). Because of this limitation, this

provision is extraordinarily difficult to trigger, but in this particular case it comes into play.

        Simply put, to the extent that the information in question pertains to “specific steps the

United States . . . has not taken, or . . . elects not to take, to facilitate Mr. Abrego Garcia’s release

from custody and/or return to the U.S.” (1st Rubio Decl. ¶ 7), that information cannot be

classified for any of the accepted reasons because it will have no bearing on U.S. foreign

relations with El Salvador or any other country; it will solely be relevant to the Government’s

internal lack of compliance with court orders. The Court cannot draw a logical connection

between information about an action the Administration has not and will not take vis-à-vis a

foreign country and U.S. foreign relations with that country, any more than an internal memo

showing that a car dealership has not and will not require a blood sacrifice to buy a car would

affect its negotiations with customers.

        This places any such classification decision squarely in the categories described by

Section 1.7(a), which necessarily means that, according to the Executive Branch’s own rules, it

cannot be properly classified. This fact alone would warrant the Court’s recognition of its

“obligation to review the documents with a very careful, indeed a skeptical, eye, and not to

accept at face value the government’s claim or justification of privilege.” Al-Haramain Islamic

                                                   10
       Case 8:25-cv-00951-PX                Document 175            Filed 06/02/25          Page 11 of 16



Found., Inc. v. Bush, 507 F.3d 1190, 1203 (9th Cir. 2007). “This skepticism is all the more

justified in cases that allege serious government wrongdoing. Such allegations heighten the risk

that government officials may be motivated to invoke the state secrets doctrine not only by their

obligation to protect national security but also by a desire to protect themselves or their

associates from scrutiny.” Mohamed v. Jeppesen Dataplan, Inc. 614 F.3d 1070, 1085 n.8 (9th

Cir. 2010) (en banc). And, as noted above, if the information in question is not properly

classified, this Court would be the first to allow it to be withheld under the state secrets

privilege. 6

III.     THIS COURT IS COMPETENT

         As several courts have stressed, “deference is not equivalent to acquiescence.” Campbell

v. DOJ, 164 F.3d 20, 30 (D.C. Cir. 1998). See also Holder v. Humanitarian L. Proj., 561 U.S. 1,

34 (2010) (“[C]oncerns of national security and foreign relations do not warrant abdication of the

judicial role.”); ACLU v. DOD, 901 F.3d 125, 134 (2d Cir. 2018) (“Deference to the executive’s

national security and military judgments is appropriate only where we have sufficient

information to evaluate whether those judgments were logical and plausible.”); Fuld v. PLO, 578

F. Supp. 3d 577, 594 (S.D.N.Y. 2022) (“Judicial deference in the area of national security is

certainly warranted. But deference is not equivalent to acquiescence.”) (quoting Open Soc’y Just.

Initiative v. DOD, No. 20-5096, 2021 U.S. Dist. LEXIS 132445, at *20 (S.D.N.Y. July 15,

2021)); Elec. Frontier Found. v. CIA, No. 09-3351, 2013 U.S. Dist. 142146, at *13 (N.D. Cal.

2013) (“Deference is not equivalent to acquiescence.”) (citing Campbell). Moreover, “there


6
  To be clear, a small number of state secrets privilege cases, including the seminal case United States v. Reynolds,
345 U.S. 1 (1953), involved Government assertions which predated the modern classification system, which was
first established by President Eisenhower in Executive Order 10501 in November 1953. By definition, any state
secrets privilege invocation made before November 1953 would necessarily involve unclassified information,
because the classification system was not yet developed at the time the privilege was invoked.

                                                          11
      Case 8:25-cv-00951-PX            Document 175         Filed 06/02/25       Page 12 of 16



comes a point where [a] Court should not be ignorant as judges of what [they] know as men [and

women].” Watts v. Indiana, 338 U.S. 49, 52 (1949).

        It is for these two reasons that the D.C. Circuit has held that it is entirely proper for a

District Court to “rel[y] on its own experience with litigation involving highly sensitive

government information and its confidence that the Government’s security concerns could be

accommodated” when adjudicating a state secrets privilege invocation. In re United States, 872

F.2d at 478. The Court does not need to pretend that it is unfamiliar with the issues in play in this

matter, and it may rely on its own expertise with such matters when evaluating the merits of the

Government’s claim. More to the specific point of this claim, the D.C. Circuit held in that same

case that the fact that the information the Government was attempting to withhold would be part

of a bench trial and not a jury trial was relevant, because that “will reduce the threat of

unauthorized disclosure of confidential material.” Id. Needless to say, if the Government has less

legitimate need to invoke the state secrets privilege in a bench trial than it does in a jury trial, it

would have even less legitimate need to invoke it to avoid providing information to the Court

and Plaintiffs under seal and a stipulated confidentiality order. Given the stakes of this case and

the prospect of the Government using this privilege to avoid any semblance of accountability for

its apparent violations of various court orders, the Court should reject the Government’s claim.

IV.     THE APPLICABILITY OF THE PRIVILEGE TO FOREIGN RELATIONS

        The Court specifically asked Amici to weigh in on two topics, the first of which was,

“The application of the state secrets privilege in the context of diplomatic communications and

foreign relations.” Plaintiffs effectively addressed the three cases known to Amici where

diplomatic communications were at issue (see Pls.’ SSP Opp’n at 14-15 (discussing Rep. of

China v. Nat’l Union Fire Ins. Co., 142 F. Supp. 551 (D. Md. 1956), where the privilege claim

                                                   12
      Case 8:25-cv-00951-PX          Document 175         Filed 06/02/25      Page 13 of 16



was upheld, and U.S. Steel Corp. v. United States, 578 F. Supp. 409 (C.I.T. 1983), and Rep. Steel

Corp. v. United States, 538 F. Supp. 422 (C.I.T. 1982), where the privilege claim was rejected)),

and so Amici have only a small amount of information to add to that analysis.

       First, it is not clear from the record in Republic of China whether the information in

question was classified, and if so at what level. From the opinion, the information for which the

state secrets privilege was invoked was created in 1950-51, while the decision was not issued

until July 1956, and it is not clear when the Government formally invoked the state secrets

privilege. As noted above, this places Republic of China in a transition period, since the

classification system was not established until November 1953. So even if the information in that

case was not classified, that does not necessarily mean anything for the purposes of this case.

       However, it is likely that the information in that case was classified because Executive

Order 10501 was significantly more permissive than later Executive Orders. Compared to the

current classification system, in which most classified diplomatic information is classified at the

lowest Confidential level, that Executive Order specifically stated that information which could

“lead[] to a definite break in diplomatic relations affecting the defense of the United States”

would be classified at the highest Top Secret level, while information which could “jeopardize[e]

the international relations of the United States” would be classified at the middle Secret level.

Exec. Order 10501 § 1(a)-(b). Given that the court appears to have accepted that this information

implicated “military secrets,” see 142 F. Supp. at 556 (“When respondents issued their insurance

policies they knew, or should have known, that where military secrets and similar matters are at

stake, certain information is privileged.”), this Court should presume that the information at issue




                                                 13
       Case 8:25-cv-00951-PX                Document 175            Filed 06/02/25          Page 14 of 16



in Republic of China was both classified and related to military secrets, 7 which sets it apart from

the information in this case.

         As stated above, is it permissible—and in fact not uncommon—for diplomatic

communications to be classified. One of the specifically identifiable categories of classifiable

information is information which “pertains to . . . foreign relations or foreign activities of the

United States,” Exec. Order 13526 § 1.4(d), and “‘[d]amage to the national security’ means harm

to the national defense or foreign relations of the United States from the unauthorized disclosure

of information, taking into consideration such aspects of the information as the sensitivity, value,

utility, and provenance of that information.” Id. § 6.1(l). However, the mere fact that information

can be classified does not mean it is classified, and, as noted above, there is no indication that the

information at issue in this case is classified. As a result, as noted above, it is not properly

covered by the state secrets privilege.

V.       THE UTILITY OF IN CAMERA REVIEW

         This Court also asked Amici to address “[t]he propriety of this Court’s in camera review

prior to adjudicating the state secrets privilege, and how such review may support the Court’s

obligation to independently assess the scope and validity of the privilege.” This query is

significantly easier to address. Courts often examine information in camera to determine the

propriety of a state secrets privilege invocation. For instance, in Al-Haramain, the Ninth Circuit

held that Reynolds “requir[ed] an in camera review of” the document in question due to the

plaintiff’s “admittedly substantial need for the document” and then upheld the Government’s

privilege invocation after in camera review. 507 F.3d at 1203. “The process of in camera review


7
 This conclusion is bolstered by the fact that the Supreme Court’s Reynolds decision issued only three years before
Republic of China only addressed “military secrets,” 345 U.S. at 11, which at that time was the only context in
which the state secrets privilege had been considered. If the information at issue in Republic of China did not pertain
                                                          14
       Case 8:25-cv-00951-PX               Document 175           Filed 06/02/25         Page 15 of 16



ineluctably places the court in a role that runs contrary to our fundamental principle of a

transparent judicial system. It also places on the court a special burden to assure itself that an

appropriate balance is struck between protecting national security matters and preserving an open

court system.” Id.

        This is also the clear law in this Circuit. “In some situations, a court may conduct an in

camera examination of the actual information sought to be protected, in order to ascertain that

the criteria set forth in Reynolds are fulfilled. The degree to which a reviewing court should

probe depends in part on the importance of the assertedly privileged information to the position

of the party seeking it.” El-Masri, 479 F.3d at 305 (citing Sterling v. Tenet, 416 F.3d 338, 345

(4th Cir. 2005)).

                                               CONCLUSION

        “With all its defects, delays and inconveniences, men have discovered no technique for

long preserving free government except that the Executive be under the law.” Youngstown, 343

U.S. 579, 655 (1952) (Jackson, J., concurring). For the reasons provided above, the Court should

reject the Government’s attempt to avoid the consequences of its actions by laying claim to a

privilege which does not apply.

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                                                         Respectfully submitted,

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to military secrets, then that decision would have constituted a significant expansion of an unambiguous Supreme
Court decision by a district court only three years after its issuance.
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Case 8:25-cv-00951-PX   Document 175   Filed 06/02/25       Page 16 of 16



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                                16
